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15
                           UNITED STATES DISTRICT COURT
16                              DISTRICT OF NEVADA
17                                               )
     FEDERAL TRADE COMMISSION                    )       Case No: 2:18-cv-00035
18                                               )
                         and                     )
19                                               )
     STATE OF NEVADA,                            )
20                                               )
                          Plaintiffs,            )       CERTIFICATE OF SERVICE ON
21                                               )       DEFENDANT SHAD APPLEGATE, AKA
                          v.                     )       SHAD COTTELLI
22                                               )
     EMP MEDIA, INC., et al.,                    )
23                                               )
                           Defendants.           )
24                                               )
25
                       CERTIFICATE OF SERVICE ON
26            DEFENDANT SHAD APPLEGATE, AKA SHAD COTTELLI
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                                                     1
            Case 2:18-cv-00035-APG-NJK Document 21 Filed 03/16/18 Page 2 of 2




 1
             Plaintiffs, the Federal Trade Commission and the State of Nevada, submit
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 3   the attached declaration of Matthew Smith, with supporting attachments, as proof
 4
     of service of the complaint and summons on Defendant Shad Applegate, also
 5
     known as Shad Cottelli, per the Court’s February 1, 2018 order granting Plaintiffs’
 6

 7   Motion for Alternative Service.1
 8

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             Respectfully submitted,

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12
             Dated: March 16, 2018
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14
                                                               _/s/ Megan Cox_________________
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24
     1
       The Court’s order was granted pursuant to Federal Rule of Civil Procedure 4(f), for service of an
25   individual in a foreign country. Federal Rule of Civil Procedure 4(m) provides the time limit for service
     to be 90 days and states, “This subdivision (m) does not apply to service in a foreign country under Rule
26   4(f), 4(h)(2), or 4(j)(1).” Accordingly, Rule 4(m)’s 90-day time limit for service does not apply to service
     on Defendant Shad Cottelli.
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